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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
                                         Criminal No. 21-CR-399 (RDM)
       v.

ROMAN STERLINGOV,

                Defendant.



MOTION TO QUASH TRIAL SUBPOENA AND PRECLUDE TRIAL TESTIMONY BY
 NON-PARTIES MICHAEL GRONAGER, JONATHAN LEVIN, AND YOULI LEE
            AND INCORPORATED MEMORANDUM OF LAW




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         Non-parties Michael Gronager, Jonathan Levin, and Youli Lee move to quash the

purported subpoena for testimony at trial directed to Ms. Lee and, in addition, to preclude

defendant Sterlingov from further attempts to call Mr. Gronager or Mr. Levin as witnesses at

trial.

I.       PRELIMINARY STATEMENT

         Non-parties Chainalysis Inc. (“Chainalysis”) and its employees have now been before

this Court multiple times to quash defendant Sterlingov’s repeated and abusive subpoenas.

Despite this Court quashing earlier subpoenas and instructing defendant to explain the specific

relevance of the documents and testimony he seeks, defendant persists in harassing Chainalysis

and its employees with irrelevant subpoenas. This time, defendant demands trial testimony from

Youli Lee, former AUSA and current in-house counsel at Chainalysis. Earlier this month,

defendant demanded trial testimony from Chainalysis executives Michael Gronager and Jonathan

Levin before withdrawing the requests for Mr. Gronager’s and Mr. Levin’s testimony. None of

these three Chainalysis employees is a percipient or expert witness in this case.

         Now entering the fourth round of briefing on these subpoenas, defendant has had

repeated opportunities to explain how any of the documents or testimony he seeks is relevant. He

cannot do so. The latest raft of subpoenas confirms what has long been apparent. Defense

counsel is abusing the subpoena power of this Court to try to wage a parallel campaign against

Chainalysis because defense counsel does not believe that cryptocurrency transactions should be

traceable, because defense counsel is using it as a fundraising ploy, and because defense counsel

has affirmatively stated an intent to bring some misguided civil action. Additionally, and in

violation of this Court’s orders, defense counsel continues to speak with the media and misstate

the facts and the record regarding this case in a manner aimed at falsely characterizing

Chainalysis and its employees. This misuse of the legal process and violations of the Court’s
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orders to harass witnesses and third parties should stop.

       As with his earlier subpoenas, defendant’s latest installment for trial testimony is

inappropriate. Calling Ms. Lee to testify at trial would be improper as her work in government

investigating Bitcoin Fog while an AUSA is subject to attorney-client privilege and defendant

has not shown the relevance of such testimony. As for her work at Chainalysis, she is not

involved in any Bitcoin Fog-related matter and it, too, is subject to attorney-client privilege.

Defendant’s other subpoenas would have sought testimony from Mr. Gronager and Mr. Levin,

Chainalysis co-founders and executives. Mr. Gronager and Mr. Levin were not involved in the

Bitcoin Fog investigation and do not have any firsthand knowledge of the facts alleged in this

case. Although defense counsel has said that they are withdrawing the requests for

Mr. Gronager’s and Mr. Levin’s testimony, given counsel’s past and current behavior and to

avoid unnecessary future motions, the Court should preclude defendant from further attempts to

call either Mr. Gronager or Mr. Levin as witnesses at trial.

       Defendant’s subpoenas are one further episode in his long harassment of Chainalysis.

The ulterior motives of defense counsel have no place at this trial and are not a valid basis for a

subpoena. The Court should quash the subpoena that defendant has attempted to serve 1 on

Ms. Lee and preclude defendant from calling Mr. Gronager and Mr. Levin at trial.

II.    BACKGROUND

       Given that this is the fourth motion relating to subpoenas of Chainalysis and its


1
  Technically, the witnesses have not been served at this point. Defense counsel asked if
undersigned counsel would accept service on behalf of the witnesses. Undersigned counsel stated
that he was authorized to do so with one condition – that defense counsel not make the same
ridiculous argument made previously: that acceptance of service prohibits a witness from moving
to quash a subpoena. (See ECF No. 131 at 9-10.) As of this filing, defense counsel has not
responded to this request from undersigned counsel. This motion is being filed now because,
unlike defense counsel, undersigned counsel is making every effort to provide the Court
adequate time and information to evaluate issues brought before it.
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employees, the Court is by now familiar with defendant’s repeated attempts to obtain testimony

and documents from Chainalysis and its employees. 2 On August 2, 2023, defense counsel

purported to serve a third subpoena on non-party Michael Gronager, co-founder and CEO of

Chainalysis, and a second subpoena on non-party Jonathan Levin, co-founder and Chief Strategy

Officer of Chainalysis. (Ex. A, Ex. B.) 3 On August 9, 2023, defendant made a second attempt to

subpoena Chainalysis Senior Legal Director Youli Lee. (Ex. C.) All of these subpoenas demand

trial testimony. On August 20, 2023, defense counsel stated that they are withdrawing the

subpoenas seeking testimony from Mr. Gronager and Mr. Levin.

       These subpoenas come after defendant’s (1) November 18, 2022 subpoenas directed to

all three non-parties and their employer, Chainalysis; (2) May 5, 2023 subpoena served on

Mr. Gronager; and (3) August 2, 2023 motion for leave to issue a subpoena to Chainalysis. The

government and the Chainalysis non-parties moved to quash those subpoenas or oppose

defendant’s motion under Federal Rules of Criminal Procedure 17(c) and 17(a). (ECF No. 93,

ECF No. 95, ECF No. 126, ECF No. 160, ECF No. 161.) Following argument on the matter, the

Court granted Chainalysis’ motions to quash on June 16, 2023. (June 16, 2023 Minute Order.)

Chainalysis and the government opposed defendant’s motion for reconsideration of the court’s

order to quash the subpoenas on August 10, 2023. (ECF No. 160; ECF No. 161.)

       Despite this long procedural history and despite the approaching trial date, defense

counsel has not provided any indication as to the subject matter of the trial testimony he seeks or


2
 A fuller recitation of the relevant procedural background is contained in the Chainalysis non-
parties’ Motion to Quash Subpoena and Chainalysis’ Opposition to defendant’s Motion for
Reconsideration for the Court’s Oder to Quash Rule 17(c) Subpoenas. (ECF No. 95 at 2-4, ECF
No. 160 at 2-5.)
3
 References to “Ex. A,” “Ex. B,” and “Ex. C” are to the exhibits filed concurrently with this
motion containing the subpoenas attempted to be served on non-parties Michael Gronager,
Jonathan Levin, and Youli Lee.
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its relevance. None of these individuals is a percipient witness in this case. None has been

noticed as an expert witness by either side. Defense counsel only requested that counsel for

Mr. Gronager, Mr. Levin, and Ms. Lee accept service of these subpoenas. Counsel for Mr.

Gronager, Mr. Levin, and Ms. Lee responded that he would accept service if defense counsel

acknowledged that acceptance does not waive any right to challenge the subpoenas. Defense

counsel did not respond. While Mr. Gronager, Mr. Levin, and Ms. Lee have not yet been served,

they move to quash now to allow the Court adequate time to decide this motion ahead of trial.

III.   LEGAL STANDARDS

       “Federal Rule of Criminal Procedure 17(a) governs subpoenas ad testificandum in

criminal proceedings.” United States v. Riego, 627 F. Supp. 3d 1254, 1258 (D.N.M. 2022).

“Although Rule 17(a) . . . does not provide explicitly for quashal or modification, courts

routinely have entertained motions seeking such relief and decided them by reference to

comparable principles. Specifically, a subpoena ad testificandum survives scrutiny if the party

serving it can show that the testimony sought is both relevant and material.” Stern v. United

States Dist. Ct., 214 F.3d 4, 17 (1st Cir. 2000). “Where the sought testimony is cumulative or

immaterial, a court does not abuse its discretion by quashing a Rule 17(a) subpoena.” United

States v. Bebris, 4 F.4th 551, 559 (7th Cir.), cert. denied, 142 S. Ct. 489 (2021). In other words,

“[r]oughly the same standard applies to subpoenas compelling the attendance of witnesses” as to

subpoenas duces tecum. Stern, 214 F.3d at 17. That standard requires that the subpoena “clear

three hurdles: (1) relevancy; (2) admissibility; (3) specificity.” United States v. Nixon, 418 U.S.

683, 700 (1974). “The specificity requirement ensures that a Rule 17(c) subpoena will not be

used as a fishing expedition to see what may turn up.” United States v. Libby, 432 F. Supp. 2d

26, 32 (D.D.C. 2006) (citation omitted). A defendant must “demonstrate with requisite

specificity” that the testimony is “material and essential to the defense.” United States v. North,
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713 F. Supp. 1448, 1449 (D.D.C. 1989). The burden of “satisfy[ing these] exacting standards”

falls “on the party requesting the information.” Cheney v. United States Dist. Ct., 542 U.S. 367,

386 (2004).

IV.    ARGUMENT

       A.      Ms. Lee’s Testimony Is Inadmissible and Irrelevant

       A subpoena for Ms. Lee’s testimony is particularly inappropriate. As defendant well

knows, Ms. Lee was an investigator of Bitcoin Fog, among other cryptocurrency matters, when

she worked as an AUSA in the District of Columbia. Matters related to her representation of the

government are subject to attorney-client privilege and therefore inadmissible. Should she be

called as a witness at trial, all former AUSAs could be witnesses in the matters that they worked

while in government. In addition, testimony from Ms. Lee could only be provided subject to the

DOJ’s Touhy regulations, which prohibit unauthorized disclosure of materials contained in DOJ

records. See 28 C.F.R. §§ 16.21 et seq.

       That defendant has made no effort to explain how or why attorney-client privilege should

be overcome or to apply for an exception to the Touhy regulations shows that he is not serious

about compelling Ms. Lee to testify at trial. The Chainalysis non-parties raised these same

arguments in response to defendant’s first round of subpoenas in December 2022. (ECF No. 95

at 11-12.) Defendant is well aware of these significant hurdles as to admissibility, at a minimum

from prior briefing in this case, and has done nothing to address them.

       Nor would Ms. Lee’s testimony be relevant to the criminal charges that will be at issue

during the trial. In connection with defendant’s earlier attempt to subpoena Ms. Lee, defendant

stated that he sought “her testimony in relation to her business communications and negotiations

in relation to her leaving the government for paid employment with the government’s forensic

contractor in this case.” (ECF No. 103 at 14.) Defendant is charged with money laundering,

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operating an unlicensed money transmission business, and money transmission without a license.

(ECF No. 43.) Ms. Lee’s employment history has nothing to do with any of those charges.

       Defendant has already attempted to call as a witness one of the AUSAs prosecuting this

case and been denied. (June 23, 2023 Minute Order.) In that context, the government argued that

defendant failed to meet his burden in “demonstrat[ing] that the evidence is vital to his case, and

that his inability to present the same or similar facts from another source creates a compelling

need for the testimony.” United States v. Watson, 952 F.2d 982, 986 (8th Cir. 1991); see also

ECF No. 64 at 3-5. The Court agreed:

       I don’t see anything that you’ve done that shows me some element or material fact in this
       case that would be admissible to the jury where you’ve shown me or indicated to me,
       Ms. Pelker is the only person who we can call who would know this.

(June 23, 2023 Hr’g Tr. at 13:23-14:2.) The Court went on to ask defense counsel to explain

“some fact that is material in the case, and not something atmospheric” that would permit the

testimony to be admitted. (Id. at 15:14-15.) Defense counsel was unable to do so. This is again

what defense counsel is attempting to do here in seeking Ms. Lee’s testimony. They plan to

suggest to the jury something untoward in Ms. Lee’s decision to “leav[e] the government for

paid employment” at Chainalysis. (ECF No. 103 at 14.) In fact, Ms. Lee worked at Coinbase

after leaving the government and before joining Chainalysis. Regardless, defendant’s logic is the

definition of “atmospheric” and has nothing to do with the facts that will be at issue at trial.

Defendant has not come close to meeting his burden. Like the rest of his subpoenas, his

subpoena of Ms. Lee is a stunt.

       B.      Mr. Gronager’s and Mr. Levin’s Testimony Is Irrelevant

       Although defense counsel has now said that they are withdrawing the subpoenas seeking

Mr. Gronager’s and Mr. Levin’s testimony at trial, the Court should enter an order precluding

defendant from calling either as a witness at trial. This is now the fourth round of briefing that

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the Chainalysis non-parties have had to undertake on substantially the same issues. Defense

counsel’s harassing behavior suggests that they may continue their campaign to seek irrelevant

materials and testimony. To avoid unnecessary briefing that would waste the parties’ and the

Court’s resources, we respectfully request that the Court address the issue of Mr. Gronager’s and

Mr. Levin’s trial testimony now to avoid any further last-minute surprises from defendant.

       Mr. Gronager’s and Mr. Levin’s testimony, as with the materials and testimony defendant

seeks in his other subpoenas, is wholly irrelevant. The defendant stands accused of money

laundering, operating an unlicensed money transmission business, and money transmission

without a license. (ECF No. 43.) Neither Mr. Gronager nor Mr. Levin is a percipient witness to

any alleged conduct supporting these charges. Neither had anything to do with the Bitcoin Fog

investigation that gathered the facts that support the government’s allegations. They have no

personal knowledge of any allegations against the defendant. Defendant has done nothing in his

previous filings to show otherwise. As a result, defendant cannot meet his burden and their

testimony should be precluded for failure to meet the requirements of Federal Rules of Evidence

401 and 403. See, e.g., United States v. Michel, 2023 WL 2388501, at *4 (D.D.C. Mar. 6, 2023)

(quashing trial subpoena that sought irrelevant, confusing, or time-wasting testimony).

       Defendant’s prior arguments on relevance seemed to be that Mr. Gronager and Mr. Levin

founded a company that has subsequently been employed by the government to provide asset

tracing services and an expert witness in this case. That is no valid basis. Speculation that

Mr. Gronager or Mr. Levin somehow has personal knowledge relevant to this case is not a valid

basis either. See, e.g., Berkley Ins. Co. v. Fed. Hous. Fin. Agency, 2023 WL 4744155, at *12

(D.D.C. July 25, 2023) (excluding witness testimony because it was based on speculation instead

of personal knowledge). Nor are conclusory platitudes about defendant’s Sixth Amendment



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rights a valid basis without a showing of relevance: a defendant’s right to compulsory process is

“limited” and he “must make a plausible showing that the witness’s testimony would be both

material and favorable to his defense.” See United States v. Valenzuela-Bernal, 458 U.S. 858,

867 (1982). Defendant has failed to meet his burden in showing that the testimony he seeks is

relevant.

       Finally, as to the relevance of any testimony about Chainalysis’ Reactor software, this

issue has been extensively briefed elsewhere. (See ECF No. 160; ECF No. 161.) Expert witness

Elizabeth Bisbee will testify about how she used Reactor to identify “clusters” of wallet

addresses that are associated with darknet markets. Mr. Gronager and Mr. Levin are not noticed

experts in this case by either side and have nothing to add to this testimony. “Where the sought

testimony is cumulative or immaterial, a court does not abuse its discretion by quashing a Rule

17(a) subpoena.” Bebris, 4 F.4th at 559. Mr. Gronager and Mr. Levin have nothing of any

relevance to contribute to this trial, and their testimony should be precluded for this reason alone.

       C.      Lay Opinions or Hearsay Relating to Mt. Gox Records or Other
               Subjects Are Inadmissible

       In earlier filings, defendant argued that Mr. Gronager’s alleged examination of Mt. Gox

records and conversations with former Mt. Gox CEO Mark Karpelès are relevant to the question

of authenticity. (ECF No. 103 at 4, 11-12; ECF No. 131 at 7-9.) As the government has

explained repeatedly, Mt. Gox records are self-authenticating records under Federal Rule of

Evidence 902. (ECF No. 61 at 19-22; ECF No. 140 at 2-6; ECF No. 146 at 1-2.) Testimony from

Mr. Gronager or anyone else on the authenticity of these records is unnecessary.

       But even assuming that defendant’s position were correct, Mr. Gronager’s testimony on

these subjects is inadmissible. First, “[o]pinion testimony from lay witnesses is generally

inadmissible in federal court.” Jones v. Dist. of Columbia, 314 F. Supp. 3d 36, 60 n.16 (D.D.C.


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2018). Defendant alleges that Mr. Gronager observed a data set and formed opinions about that

data set, which anyone else could have done. Second, any conversations with Mr. Karpelès –

which are not informative of any issue in dispute in this case – are hearsay. “[A] party generally

may not obtain inadmissible evidence through a Rule 17 subpoena.” Michel, 2023 WL 2388501,

at *7 (quashing trial subpoena where proposed testimony was hearsay). That is because the

witness would not testify on the basis of personal knowledge but rather would relay what

someone else told him. See, e.g., United States v. Davis, 596 F.3d 852, 856-57 (D.C. Cir. 2010)

(holding witness testimony was properly excluded where witness’ knowledge derived from what

another person told her). Defendant cannot show that any testimony from Mr. Gronager would

be admissible at trial.

        D.      Defendant’s Fourth Round of Subpoenas Continues to Harass
                Chainalysis and Its Employees

        These subpoenas are defendant’s fourth attempt at procuring documents or testimony to

further his or defense counsel’s extrajudicial campaign to harass, disparage, and otherwise harm

Chainalysis and its employees. Courts have quashed subpoenas where they are “abusive or

harassing.” In re Grand Jury Subpoena for THCF Med. Clinic Recs., 504 F. Supp. 2d 1085, 1088

(E.D. Wash. 2007).

        Defense counsel has publicly stated their intent to “sue the crap out of” Chainalysis and

made similar threats in a variety of public online forums. (See ECF 160 at 14-16.) Because of

these and other extrajudicial comments from defense counsel, the Court warned: “[I]f you’re

doing stuff that is being posted on the internet, on Twitter and YouTube, I think that there is a

risk that you’re tainting the jury venire.” (June 16, 2023, Hr’g Tr. at 74:3-5.) The Court also

warned defense counsel against “making statements that could be reasonably perceived to be

threatening to a potential witness.” (Id. at 41:7-8.) Even after the Court’s warning, defense


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counsel ignored it and has been repeatedly promoting false reports regarding this case. (See ECF

160 at 14-16; infra.) Despite disregarding clear direction from the Court and being called out for

it recently, defense counsel apparently will not stop. Defense counsel’s most recent public

outreach was apparently to discuss the case with an op-ed writer for Bitcoin Magazine to fuel

another false and inaccurate report regarding this case. That writer thanked Mr. Ekeland and

Mr. Hassard “for their insights” as he was writing the op-ed that the magazine published online

on August 15, 2023. The article inaccurately and falsely tracked defense counsel’s own prior

rants to try to disparage Chainalysis as a “threat to our financial privacy that lurks in the

shadows.” Kudzai Kutukwa, Your Financial Privacy Is Under Attack: How State-Sponsored

Attacks on Bitcoin Are Growing, BITCOIN MAGAZINE (Aug. 15, 2023),

https://bitcoinmagazine.com/culture/state-sponsored-attacks-on-bitcoin-privacy-are-growing. It

goes on to misleadingly recount Ms. Bisbee’s statements in this case. As he has done recently for

other publications that discuss this case, Mr. Hassard retweeted the author’s thanks and a link to

the op-ed:




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Mike Hassard (@mikehassard), Twitter (Aug. 15, 2023).

       Defense counsel has shown complete disdain for this Court’s orders and the ethical rules.

These subpoenas, like all of defendant’s subpoenas directed at Chainalysis and its employees, are

not aimed at procuring relevant and admissible testimony at trial. Instead, they manifest defense

counsel’s improper motivations to harass and disrupt witnesses and non-parties to this case. See,

e.g., United States v. Palfrey, 2007 WL 842770, at *1 (D.D.C. Mar. 16, 2007) (“As at least two

courts of appeals have recognized, threats of litigation against potential victims or witnesses in a

criminal case discourage and dissuade them from testifying.”), order vacated in part on other

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grounds, 2007 WL 1954181 (D.D.C. July 5, 2007).

       Defense counsel’s recent behavior is emblematic of their intent to harass and burden

witnesses, non-parties, and the Court with meritless arguments. Upon receiving the emailed

subpoenas from defense counsel, counsel for Mr. Gronager, Mr. Levin, and Ms. Lee replied to

inform defense counsel that he would accept service if defense counsel would acknowledge that

acceptance of service does not waive any right to challenge the subpoenas. This request was

prompted by defense counsel’s baseless argument in earlier briefing that acceptance of service

somehow waived any ability to challenge a subpoena. (ECF No. 131 at 9-10.) Defense counsel

did not respond. That such a basic legal point should go unacknowledged and ultimately require

the Court’s time is a mark of how little defense counsel themselves believe in the proper purpose

of their subpoenas.

       Defense counsel’s public statements and conduct toward the Chainalysis non-parties

leave little doubt that they believe cryptocurrency transactions should be entirely untraceable and

seek funding and compliments from those who believe the same. They are willing to feed false

narratives and ignore the Court’s orders in pursuit of these goals. They should not be rewarded

for this behavior. The Court should quash the latest subpoena seeking testimony from Ms. Lee

and should preclude defendant from calling Mr. Gronager or Mr. Levin at trial. In addition, these

non-parties respectfully suggest the Court should hold defense counsel in contempt for a

violation of a direct Court order, as it warned it would do. (June 16, 2023 Hr’g Tr. at 75:15-19.)

V.     CONCLUSION

       It is respectfully submitted that the Court should quash the subpoena for testimony issued

by defendant to Ms. Lee and preclude defendant from further attempts to call Mr. Gronager or

Mr. Levin as a witness at trial.

       Dated this 22nd day of August, 2023.
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                                    Respectfully submitted,

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